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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

TAYLOR ENERGY COMPANY, LLC,               )
                                          )
      Plaintiff,                          )            Case No.: 20-1086-JDB
                                          )
      v.                                  )
                                          )
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
         Defendant.                       )
__________________________________________)

    DEFENDANT’S COMBINED OPPOSITION TO PLAINTIFF’S MOTION FOR
   SUMMARY JUDGMENT AND CROSS MOTION FOR SUMMARY JUDGMENT


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       Defendant the United States of America, acting by and through the United States Coast

Guard National Pollution Funds Center (“NPFC”) moves for summary judgment and responds as

follows to Plaintiff Taylor Energy Company, LLC (“Taylor Energy’s”) motion for summary

judgment.

                                          INTRODUCTION

       Operating an offshore oil platform near the Mississippi River Delta is a risky venture.

Much of the seafloor is inherently unstable, consisting of weak sediments supplied by river

channels. AR 20309. 1 Even a small change in prevailing conditions can trigger a mudflow. AR

2220. To make matters worse, the presence of the Loop Current and warm-core eddies provide

deep reservoirs of very warm water relative to the rest of the Gulf, making the Delta region

highly conducive to generating major hurricanes. AR 20309. Indeed, severe tropical storms

affect the area most seasons. See AR 20088.

       Despite these known risks, Taylor Energy made a business decision in 1994 to buy an oil

platform near the Mississippi River Delta. AR 20859. The seafloor was so unstable at the

platform location that the lease required Taylor Energy to regularly perform high resolution

surveys to monitor seafloor instabilities and sediment accumulations—a requirement that Taylor

Energy ignored. AR 2191–92.

       In 2004, a Hurricane Ivan-induced mudslide toppled Taylor Energy’s oil platform, and oil

gushed into the Gulf of Mexico. AR 2192. Taylor Energy is the undisputed “responsible party”

under the Oil Pollution Act of 1990 (OPA). See AR 352. OPA requires responsible parties to




1
 “AR” is an abbreviation for Administrative Record. “AR 20309” is an abbreviation for
“CGAOGAR_0020309.”
                                                1
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pay for cleanup efforts, and Taylor Energy allegedly incurred over $350 million in removal

costs.

         Now Taylor Energy wants this money back. Taylor Energy submitted a claim to the

NPFC, insisting that “an act of God” caused the oil discharge and arguing that it is entitled to

recoup all of its removal costs. Compl. to Vacate & Set Aside Final Agency Action & for Other

Relief [ECF No. 1] ¶¶ 7–9. Under OPA’s act of God defense, a responsible party must prove by

the preponderance of the evidence that the oil discharge was solely caused by an “unanticipated

grave natural disaster or other natural phenomenon of an exceptional, inevitable, and irresistible

character the effects of which could not have been prevented or avoided by the exercise of due

care or foresight.” 33 U.S.C. § 2701(1).

         The NPFC rejected Taylor Energy’s claim. The NPFC recognized that though Hurricane

Ivan was a powerful weather event, it was a hurricane in a place frequented by hurricanes, and

was thus not an “exceptional” natural phenomenon as required by the statute. AR 2210.

Furthermore, the inherently unstable condition of the area’s seafloor sediments—including

massive ongoing mudflows—was well known and thus the mudslide that toppled the platform

could not be considered “unanticipated.” AR 28. Indeed, the NPFC determined that Taylor

Energy’s failure to conduct the mandated seafloor surveys prior to the incident could have

contributed to the platform’s destruction, so Taylor Energy did not prove the hurricane

conditions were the “sole cause” of the discharge. AR 27.

         Taylor Energy now seeks judicial review, claiming that the NPFC’s decision was

arbitrary and capricious under the Administrative Procedure Act, 5 U.S.C. § 701. Taylor Energy

insists that the NPFC used an improperly heightened act of God standard and manipulated the




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claims process in “a premeditated scheme to debunk Taylor Energy’s act of God defense.” Pl.’s

Mem. of P. & A. in Supp. Of Mot. for Summ. J. (“Pl.’s. Br.”) [ECF No. 69-2] at 6, 33.

       Taylor Energy’s arguments fail. The NPFC’s reading of the OPA act of God defense—

based on the text, OPA’s object and policy, legislative history, and case law—was a textbook

example of reasoned statutory interpretation and is in accordance with law. The NPFC’s

approach was informed by the only court to have construed the OPA act of God defense, see

Apex Oil Co., Inc. v. United States, 208 F. Supp. 2d 642, 654 (E.D. La. 2002) (concluding that

the OPA act of God defense is “uniformly and singularly limited”), and is entitled to deference.

As to Taylor Energy’s attacks on the NPFC’s process, the Court has already considered and

rejected similar arguments. Mem. Op. (Oct. 14, 2020) [ECF No. 52] at 10–13 (rejecting Taylor

Energy’s claims that the NPFC impermissibly considered expert reports in its Determination on

Reconsideration); Mem. Op. (Feb. 15, 2021) [ECF No. 65] at 9 (rejecting as “conclusory and

unfounded” Taylor Energy’s accusations that the NPFC “purposefully excluded information

unfavorable to its position” (quoting Pl.’s Mem. of P. & A. in Supp. of Objections to Admin. R.,

Mot. to Suppl. Admin. R. & Mot. for Discovery [ECF No. 58-2] at 31)). Taylor Energy’s latest

arguments are more of the same. As the decision documents show, the NPFC examined the

relevant data and articulated a satisfactory explanation for its action including a rational

connection between the facts found and the choice made.

       In short, the NPFC’s decision was not arbitrary, capricious, or an abuse of discretion.

                                             BACKGROUND

  I.   Legal Background

       A.      The Oil Pollution Act of 1990




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       Congress passed the Oil Pollution Act of 1990, 33 U.S.C. § 2701 et seq., in response to

the Exxon Valdez oil spill. 2 Water Quality Ins. Syndicate v. United States, 522 F. Supp. 2d 220,

226 (D.D.C. 2007). The statute was intended “to streamline federal law so as to provide quick

and efficient cleanup of oil spills, compensate victims of such spills, and internalize the costs of

spills within the petroleum industry.” Bean Dredging, LLC v. United States, 773 F. Supp. 2d 63,

68 (D.D.C. 2011) (quoting Rice v. Harken Expl. Co., 250 F.3d 264, 266 (5th Cir. 2001)). To

accomplish these goals, OPA establishes (1) an administrative adjudication process by which the

United States pays compensation for damages or removal costs under prescribed conditions and

(2) a strict liability scheme for oil spill removal costs and related damages. 33 U.S.C. § 2701, et

seq.

               1. Compensation Framework

       The NPFC is the Coast Guard command responsible for administering the Oil Spill

Liability Trust Fund (“the Fund”) and adjudicating claims against it. See 33 U.S.C. §§ 2701–

2720. The Fund is available for various uses, including the payment of removal costs incurred

by the United States, costs associated with natural resource damages, administrative costs, and

claims for uncompensated removal costs. 3 33 U.S.C. § 2712; see also 33 U.S.C. § 2752. When



2
  In passing the new law, Congress explicitly recognized that the existing federal and state laws
provided inadequate cleanup and damage remedies, required large taxpayer subsidies for costly
cleanup activities, and presented substantial barriers to victims' recoveries such as legal defenses,
corporate forms, and burdens of proof that unfairly favored those responsible for the spills. See
S. Rep. No. 101-94, (1989); 1990 U.S.C.C.A.N. 722. Congress also recognized that, pre-OPA,
the costs of cleanup and damage from spills were not high enough to encourage greater industry
efforts to prevent spills and develop effective techniques to contain spills that did in fact
occur. Id.
3
  In light of the Fund’s various uses, Taylor Energy’s characterization of the Fund as an
“industry-funded insurance policy designed to protect responsible companies from acts outside
their control” is misleading and incorrect. Pl.’s Br. at 4 n.2. The Fund does not provide

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determining whether the Fund should grant a request for compensation, the NPFC follows an

informal adjudication process controlled by 33 U.S.C. § 2713, 33 C.F.R. Part 136, and 5 U.S.C.

§ 555.

                2. Liability and the “Act of God” Defense

         OPA established a strict liability scheme for parties responsible for vessels and facilities

that discharge oil into or upon the navigable waters and adjoining shorelines of the United States.

33 U.S.C. § 2702(a); see In re Settoon Towing Co., 859 F.3d 340, 344 (5th Cir. 2017). A

“responsible party” is liable under § 2702(a) for removal costs and damages arising from such an

incident. 33 U.S.C. § 2702(a). Under 33 U.S.C. § 2708, a “responsible party” may assert a

claim for removal costs or damages in very limited circumstances.

         One such circumstance is an “act of God.” 33 U.S.C. § 2703(a)(1). A “responsible

party” is not liable under § 2702 for removal costs or damages if the “responsible party”

establishes by a preponderance of the evidence that the discharge of oil and resulting damages or

removal costs were caused solely by an “act of God.” Id. An “act of God” means an

“unanticipated grave natural disaster or other natural phenomenon of an exceptional, inevitable,

and irresistible character the effects of which could not have been prevented or avoided by the

exercise of due care or foresight.” 33 U.S.C. § 2701(1).

         B.     Apex Oil Co., Inc. v. United States



pollution insurance to Taylor Energy or any other entity liable under OPA. See Gatlin Oil Co. v.
United States, 169 F.3d 207, 213 (4th Cir. 1999) (“With respect to the Oil Pollution Act, the
government does not issue any policies, nor does it assume any risk on behalf of claimants. The
Act provides limited compensation when the party responsible for an oil spill is unavailable. It
does not function as a private insurance company.”). Additionally, Taylor Energy’s
characterization of the Fund as “industry-funded” does not tell the full story. The Fund has been
financed by several sources, including taxes on the petroleum industry; interest earned on
principal from the United States Treasury investments; and cost recoveries, fines and civil
penalties collected from responsible parties. 26 U.S.C. § 9509(b).
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         Only one court has construed OPA’s act of God defense: Apex Oil Co., Inc. v. United

States, 208 F. Supp. 2d 642, 654 (E.D. La. 2002). In Apex Oil, the court held that the OPA act of

God defense was “uniformly and singularly limited.” Id. (emphasis in original). Whereas the

common law act of God defense could be invoked when a natural disaster or natural

phenomenon caused destruction, the OPA act of God defense required a “grave natural disaster”

or another “exceptional” natural phenomenon. Id. at 652 (citing 33 U.S.C. 2701(1)) (emphasis

added). Thus, the court concluded that the OPA definition is “much more limited in scope than

the traditional common law ‘act of God’ defense.” Id. at 652–53. The court found that

legislative history from the identical CERCLA 4 act of God definition confirmed this reading:

         The [common law] ‘act of God’ defense is more nebulous, and many occurrences
         asserted as ‘acts of God’ would not qualify as ‘exceptional natural phenomenon.’
         For example, a major hurricane may be an ‘act of God,’ but in an area (and at a
         time) where a hurricane should not be unexpected, it would not qualify as a
         ‘phenomenon of exceptional character.’

Id. at 653 (alteration added) (quoting H.R. Rep. No. 99–253(IV), 1986 U.S.C.C.A.N. 3068,

3100).

         The court’s determination that the OPA act of God defense was “singularly limited”

relied on two further bases. First, the court opined that OPA’s “object and policy,” which is to

internalize costs within the oil industry and to expand the liability of the discharger, suggests a

narrow interpretation. Id. at 651–54. Second, the Court observed that in cases involving the




4
  Comprehensive Environmental Response, Compensation, and Liability Act, 42 U.S.C. § 9607
et seq; see 42 U.S.C. § 9601(1) (“The term ‘act of God’ means an unanticipated grave natural
disaster or other natural phenomenon of an exceptional, inevitable, and irresistible character, the
effects of which could not have been prevented or avoided by the exercise of due care or
foresight.”)

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identical CERCLA act of God definition and the similar Clean Water Act (CWA) act of God

definition 5 no polluter had ever successfully raised the defense. Id. at 656.

    II.   Factual Background

          In 1980, the Department of the Interior (DOI) proposed to sell oil and gas leases on tracts

of land in the outer continental shelf near the Mississippi River Delta. AR 2189; see also AR

4576–808 (1980 DOI EIS). Several of the tracts “were subject to geohazardous conditions

specific to seafloor instability caused by unconsolidated sediments, slumping, shallow faulting or

gaseous sediments.” AR 2189–90. One such tract was 66-110—the eventual home of the

platform at issue in this case—located in Mississippi Canyon Block 20 (MC-20) of the Gulf of

Mexico. AR 2190. DOI’s 1980 environmental impact statement recognized that mudflow may

occur in the canyon and that sediment may be moving down slope. AR 2190.

          On October 20, 1981, Sohio Petroleum Corporation purchased a lease on tract 66-110.

AR 2190; see also AR 4809–5050 (1981 DOI EIS). That lease identified portions of the tract

that were subject to mass movements of sediment and required Sohio to conduct site-specific

surveys and mapping to determine the potential for unstable bottom conditions. AR 2190. Sohio

hired Woodward-Clyde Oceaneering to perform geologic studies and geotechnical analysis of

the Mississippi Canyon seafloor. AR 2190; see also AR 5880–6088 (Woodward Report). In

turn, Woodward hired Dr. Joseph Suhayda to define a 100-year storm design wave which sought

to forecast the worst expected wave conditions likely to occur at the platform’s location in a 100-

year time frame. See AR 2190. Woodward accepted Dr. Suhayda’s findings, completed its




5
 33 U.S.C. § 1321(a)(12) (“‘[A]ct of God’ means an act occasioned by an unanticipated grave
natural disaster[.]”).
                                                   7
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survey, and proposed a site for the construction of a platform within the MC-20, about 10 miles

southeast of South Pass of the Mississippi River. AR 2191.

       Woodward’s analysis explained that the proposed site exhibited large mass soil

movements and that the seafloor had been built up from several mudflow episodes. AR 2191.

Woodward also described the proposed site as being immediately downslope of a large mudflow

terminal deposit and described the mudflows within the deposit as being triggered by large

waves and by other factors which were, in some instances, poorly understood. AR 2191. To

monitor seafloor instabilities and mass soil movements upslope of the proposed site, Woodward

recommended geophysical surveys biennially and following any major storms. AR 2191; see

also AR 18470 (Woodward recommendation).

       In 1983, Sohio submitted a plan to develop the lease to the U.S. Minerals Management

Service (MMS). AR 2191. The MMS approved Sohio’s plan with the stipulation that high

resolution seafloor surveys be conducted just prior to platform installation, every two years

thereafter, and after any major storms in the area. AR 2191; see AR 6377 (MMS approval with

stipulation). In 1984-85, Sohio built the offshore oil platform that was ultimately purchased by

Taylor Energy in 1994. AR 2191. Taylor Energy used the platform to extract oil from 1994

until 2004. AR 2191–92.

       On or about September 16, 2004, Hurricane Ivan passed through the Gulf of Mexico,

causing Taylor Energy’s offshore oil platform to sink and discharge oil into the Gulf. AR 2.

More specifically, the hurricane caused waves that created pressure at the seafloor, resulting in a

deep mudslide that toppled the platform. AR 5, 2192. Taylor Energy responded, assumed

responsibility for the incident, and incurred removal costs. AR 2.

III.   Procedural Background



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       On November 16, 2018, Taylor Energy presented an act of God defense claim to the

NPFC for $353,881,719.70. AR 2276–401. On May 14, 2019, the NPFC issued a written

“Determination” denying Taylor Energy’s claim. AR 2187–228; see infra at 13–16, 27–32. The

NPFC’s regulations allow an unsuccessful claimant to seek reconsideration and to submit

additional supporting evidence. 33 C.F.R. § 136.115(d). Taylor Energy did both. On October

10, 2019, the NPFC issued a written “Determination on Reconsideration.” AR 1–29. Taken

together, the Determination and Determination on Reconsideration constitute the NPFC’s

decision and reasoning in this case.

       In April 2020, Taylor Energy filed this suit, seeking judicial review of the NPFC’s

decision under the Administrative Procedure Act (“APA”), 5 U.S.C. § 701. Compl. ¶¶ 3, 5–18.

Taylor Energy claimed that the NPFC violated the APA and the Due Process Clause by

committing substantive and procedural errors in rejecting both the initial claim and the

reconsideration claim. See id. ¶¶ 123–80. On March 8, 2021, Taylor Energy moved for

summary judgment. Pl.’s Mot. for Summ. J. [ECF No. 69].

                                       STANDARD OF REVIEW

       In the normal course, summary judgment may be granted “if the pleadings, the discovery

and disclosure materials on file, and any affidavits [or declarations] show that there is no genuine

issue as to any material fact and that the movant is entitled to a judgment as matter of law.” Air

Transp. Ass’n of Am., Inc. v. Nat’l Mediation Bd., 719 F. Supp. 2d 26, 31–32 (D.D.C.

2010), aff’d, 663 F.3d 476 (D.C. Cir. 2011) (quoting Fed. R. Civ. P. 56(c)). In a case involving

review of a final agency action under the APA, 5 U.S.C. § 706, however, the standard set forth in

Rule 56(c) does not apply and summary judgment instead serves as a “mechanism for deciding




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whether as a matter of law the agency action is . . . consistent with the APA standard of

review.” Cayuga Nation v. Bernhardt, 374 F. Supp. 3d 1, 9 (D.D.C. 2019) (quotation omitted).

       The APA authorizes a court to “set aside” agency action when it is “arbitrary, capricious,

an abuse of discretion, or otherwise not in accordance with law[,]” 5 U.S.C. § 706(2)(A).

Section 706(2)(A) sets out “[t]wo distinct but potentially overlapping standards of . . .

review.” Fox v. Clinton, 684 F.3d 67, 74 (D.C. Cir. 2012). First, in deciding whether an

agency’s interpretation of a statute that it implements is “in accordance with law,” courts apply

the familiar Chevron framework. See Baystate Franklin Med. Ctr. v. Azar, 950 F.3d 84, 92

(D.C. Cir. 2020) (“[I]t is under Chevron, not the APA arbitrary and capricious standard, that a

court considers ‘whether the agency’s construction of the statute is faithful to its plain meaning,

or, if the statute has no plain meaning, whether the agency’s interpretation ‘is based on a

permissible construction of the statute.’” (quoting Chevron U.S.A. Inc. v. Nat. Res. Def. Council,

Inc., 467 U.S. 837, 842–44 (1984))). Second, under “arbitrary and capricious review,” the

function of the district court is to determine whether “the agency ‘examine[d] the relevant data

and articulate[d] a satisfactory explanation for its action including a rational connection between

the facts found and the choice made.’” Id. at 89 (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

       The scope of review under the “arbitrary and capricious standard is ‘highly

deferential,’” Am. Trucking Ass’ns, Inc. v. Fed. Motor Carrier Safety Admin., 724 F.3d 243, 245

(D.C. Cir. 2013) (quoting Am. Wildlands v. Kempthorne, 530 F.3d 991, 997 (D.C. Cir. 2008)),

and “narrow,” such that “a court is not to substitute its judgment for that of the agency,”

Judulang v. Holder, 565 U.S. 42, 53 (2011) (quotations omitted); Ark Initiative v. Tidwell, 816

F.3d 119, 127 (D.C. Cir. 2016). This “highly deferential” standard, which “presumes agency



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action to be valid,” Defs. of Wildlife v. Jewell, 815 F.3d 1, 9 (D.C. Cir. 2016) (quotations and

citation omitted), “is especially applicable [to] . . . ‘technical determinations on matters to which

the agency lays claim to special expertise,’” Rosebud Mining Co. v. Mine Safety & Health

Admin., 827 F.3d 1090, 1101 (D.C. Cir. 2016) (quoting Bldg. & Constr. Trades Dep’t, AFL–CIO

v. Brock, 838 F.2d 1258, 1266 (D.C. Cir. 1988)). The D.C. District Court has recognized that the

NPFC has special expertise in its field. See Bean Dredging, 773 F. Supp. 2d at 81.

       “[W]hen review of an agency’s action is ‘bound up with a record-based factual

conclusion,’ the reviewing court must determine whether that conclusion ‘is supported by

substantial evidence.’” Crooks v. Mabus, 104 F. Supp. 3d 86, 99 (D.D.C. 2015) (quoting

Dickison v. Zurko, 527 U.S. 150, 164 (1999)). Substantial evidence is “such relevant evidence as

a reasonable mind might accept as adequate to support a conclusion.” Richardson v. Perales,

402 U.S. 389, 401 (1971) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). An

agency decision “may be supported by substantial evidence even though a plausible alternative

interpretation of the evidence would support a contrary view.” Morall v. Drug Enf’t Admin., 412

F.3d 165, 176 (D.C. Cir. 2005) (quoting Robinson v. Nat'l Transp. Safety Bd., 28 F.3d 210, 215

(D.C. Cir. 1994)). The substantial evidence standard “requires more than a scintilla, but can be

satisfied by something less than a preponderance of the evidence.” Town of Barnstable v. FAA,

740 F.3d 681, 687 (D.C. Cir. 2014) (quoting Fla. Gas Transmission Co. v. FERC, 604 F.3d 636,

645 (D.C. Cir. 2010)).

       Finally, in evaluating agency action under the “arbitrary or capricious” standard, the

reviewing court must take “due account . . . of the rule of prejudicial error.” 5 U.S.C. § 706.

Just as the burden of establishing that the agency action is arbitrary or capricious rests with the

party challenging agency action, so too must that party establish that any errors were



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prejudicial. Jicarilla Apache Nation v. U.S. Dep’t of Interior, 613 F.3d 1112, 1121 (D.C. Cir.

2010) (citing PDK Labs. Inc. v. U.S. Drug Enf’t Admin., 362 F.3d 786, 799 (D.C. Cir. 2004)).

The question of whether an error was prejudicial is necessarily contextual, and courts must

proceed with a case-specific application based upon an examination of the entire

record. Jicarilla Apache Nation, 613 F.3d at 1121. However, where the party challenging

agency action fails to show that the agency’s error may have affected the outcome of the

proceedings below, the error is not prejudicial, and it would be senseless to vacate and remand

for further proceedings. Id.

                                              ARGUMENT

  I.   The NPFC’s Interpretation of the OPA Act of God Defense Was in Accordance with
       Law.

       In this section, the United States (A) describes how the NPFC interpreted the OPA act of

God definition. The NPFC’s reading of the statute—based on the text, the OPA’s object and

policy, legislative history, and case law—resulted in a permissible construction of the statute that

is in accordance with law. Next, the United States (B) explains why that interpretation is entitled

to judicial deference and (C) rebuts Taylor Energy’s contention that the NPFC impermissibly

heightened the act of God standard.

       A.      The NPFC’s Interpretation of the OPA Act of God Defense Was Sound.

               1. The NPFC Correctly Rejected Taylor Energy’s Common Law
                  Incorporation Theory.

       In its claim submissions, Taylor Energy advanced a novel reading of the OPA act of God

defense. Taylor Energy claimed that OPA’s statutory definition is “identical” to the common




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law act of God defense, 6 so common law cases bear on Taylor Energy’s claim. AR 2375–96

(citing maritime and tort law cases from the 1800s to the present). Relying on this theory, Taylor

Energy argued that the OPA act of God defense should be construed broadly, see AR 2376, and

that the Apex Oil court’s decision to the contrary was wrong, AR 2379.

       The NPFC rejected Taylor Energy’s “common law incorporation” theory. AR 2200.

Starting its analysis with the text, the NPFC explained that OPA explicitly defined “act of God”

and made no reference to the common law, strongly suggesting that the statutory definition was

distinct. See AR 2204–05. Next, the NPFC explained that the act of God defense serves a

different role in the common law cases than in OPA and related environmental statutes. In the

common law cases, the issue is whether the party is at fault and therefore liable. AR 2205. By

contrast, the environmental statutes featuring the defense—CERCLA, CWA, and OPA—hold

polluters liable regardless of fault. AR 2200–05.

       Finally, the NPFC considered relevant case law, all of which confirmed that Taylor

Energy’s “common law incorporation” theory was wrong. First, the NPFC observed that in

Sabine Towing and Transportation Co. v. United States, the court determined it was

inappropriate to consider the common law when analyzing the CWA act of God defense. 666

F.2d 561, 564 (Ct. Cl. 1981) (citing Milwaukee v. Illinois, 451 U.S. 304 (1981) (holding that

federal common law is supplanted by any federal statute addressing the same question)).

Second, the NPFC observed that, in an analogous ocean pollution context, courts have held that

the CWA preempts the federal common law. AR 2203 n.99 (citing Middlesex Cnty. Sewerage

Auth. v. Nat’l Sea Clammers Ass’n, 453 U.S. 1, 15 (1981) (holding that CWA preempts common



6
  In its request for reconsideration, Taylor Energy walked back its original argument, contending
that the common law cases that use a definition of “act of God” that is materially different from
OPA’s definition need not be considered. AR 313.
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law of nuisance)). Third, the NPFC observed that while the act of God defense has been

successful in common law cases, it has never been successfully invoked under a federal

environmental statute. AR 2204. Fourth, the NPFC considered the Apex Oil case—which

directly rejected Taylor Energy’s theory—and concluded the case was well-founded. AR 2200–

21.

       In sum, the NPFC concluded that the OPA act of God definition did not incorporate the

common law. Instead, the NPFC found that the OPA act of God defense is distinct from the

common law, should be construed more narrowly, 7 and that that the Apex Oil court’s statutory

interpretation was sound. 8

               2. The NPFC Correctly Articulated the OPA Act of God Standard.

       Having rejected Taylor Energy’s preliminary arguments, the NPFC proceeded to consider

what a claimant asserting the OPA act of God defense must prove. AR 11–15, 2207. The NPFC

articulated the standard as follows:

       In order to be successful under an act of God claim, Taylor must establish, by a
       preponderance of the evidence, that the discharge of oil and resulting damages or
       removal costs were caused solely by an “act of God.” The phrase “act of God” is
       defined by OPA as: an unanticipated grave natural disaster or other natural
       phenomenon of an exceptional, inevitable, and irresistible character the effects of
       which could not have been prevented or avoided by the exercise of due care or
       foresight.

AR 2200 (citations omitted).




7
 Courts agree that OPA defenses are to be construed narrowly. Apex Oil, 208 F. Supp. 2d at
654; United States v. English, No. CV00-00016ACKBMK, 2001 WL 940946, at *4 (D. Haw.
Mar. 28, 2001); see also United States v. W. of England Ship Owner's Mut. Prot. & Indem. Ass'n
(Luxembourg), 872 F.2d 1192, 1198 (5th Cir. 1989) (“Liability exceptions under [OPA’s
predecessor statute] must be narrowly construed to effectuate Congress' strict liability scheme.”).
8
 The NPFC Determination quoted the Apex Oil decision at length and essentially adopted that
court’s statutory construction. See AR 2205–07 (quoting Apex Oil, 208 F. Supp. 2d at 652–54)).
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        The NPFC broke the defense into four general elements:

        (1) An unanticipated, AR 13,
        (2) grave natural disaster or other natural phenomenon, AR 13, that was
        (3) of exceptional, inevitable and irresistible character, the effects of which could not
            have been prevented or avoided by the exercise of due care or foresight, AR 14, that
            was
        (4) the sole cause of the discharge, AR 2220–22.

        The NPFC construed each of the four elements, analyzing the text, relevant legislative

history, and case law. Analysis of two elements bears mentioning here.

        The NPFC explained that the first element—whether the incident was “unanticipated”—

was akin to foreseeability. AR 2212. The NPFC observed that the legislative history of

analogous provisions in CERCLA and the CWA—which both include an “unanticipated”

prong—indicate that if a storm was foreseeable, predicted, or not unusual at the time and place it

occurred, the defense should not apply. AR 2213. A 1970 Congressional Report prior to

passage of the CWA is instructive:

        The term “act of God” is defined to mean an act occasioned by an unanticipated
        grave natural disaster. . . . [O]nly those acts about which the owner could have had
        no foreknowledge, could have made no plans to avoid, or could not predict would
        be included. Thus, grave natural disasters which could not be anticipated in design,
        location, or operation of the facility or vessel by reason of historic, geographic, or
        climatic circumstances or phenomena would be outside the scope of the owner’s or
        operator’s responsibility.

AR 2213 (quoting H.R. Rep. No. 91-940 (1970) (Conf. Rep.), reprinted in 1970 U.S.C.C.A.N.

2712, 2722) (emphasis added). The NPFC determined that foreseeability was an objective

question. AR 2215–16 (citing Liberian Poplar Transp., Inc. v. United States, 26 Cl. Ct. 223, 226

(Cl. Ct. 1992) (“Whether the crew did or did not actually anticipate the storm is beside the

point.”).

        The NPFC interpreted the third element—“exceptional, inevitable and irresistible

character, the effects of which could not have been prevented or avoided by the exercise of due

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care or foresight”—to set a high bar. Looking to the text, the NPFC noted that “Congress did not

intend every ‘natural disaster’ or ‘natural phenomenon’ to be eligible for the act of God defense.”

AR 2208. Rather, the claimant must prove a grave natural disaster or an exceptional natural

phenomenon—which suggested that “a heightened level of severity” is required. AR 2208.

Next, the NPFC considered legislative history from an identical act of God provision in

CERCLA as bearing on this element. AR 2208 (quoting H.R. Rep. No. 99-253(IV) reprinted in

1986 U.S.C.C.A.N. 3068, 3100 (“[A] major hurricane may be [a common law] ‘act of God,’ but

in an area (and at a time) where a hurricane should not be unexpected, it would not qualify as a

‘phenomenon of exceptional character.’”)). As for past precedent, the NPFC observed that a

claimant had never successfully raised an act of God defense under the environmental law

statutes. AR 2204 (citing e.g. Clifford J. Villa, Is the “Act of God” Dead, 7 Wash. J. Envtl. L. &

Pol’y 320, 322 (July 2017)). In view of the statutory text, the legislative history of similar

provisions, and the claimants’ uniform failure to successfully invoke the defense, the NPFC

concluded that Taylor Energy had a heavy burden to prove this element. AR 2212.

       B.      The NPFC’s Statutory Interpretation Is Entitled to Deference.

       The NPFC’s interpretation of the OPA act of God defense was a permissible construction

of the statute that is in accordance with law. There is no ambiguity—the OPA act of God

definition did not incorporate the common law and should be construed narrowly. To the extent

the court concludes there is any ambiguity on these issues, however, the NPFC’s interpretation is

entitled to Chevron or Skidmore deference.

       The Chevron inquiry involves two steps. At step one, courts ask “whether Congress has

directly spoken to the precise question at issue.” Chevron, 467 U.S. at 842. If the statutory

language is unambiguous and “the intent of Congress is clear, that is the end of the matter; for



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the court, as well as the agency, must give effect to the unambiguously expressed intent of

Congress.” Id. at 842–43. However, “if the statute is silent or ambiguous with respect to the

specific issue,” the Court will proceed to step two of the Chevron analysis and ask whether the

agency’s interpretation is “permissible.” Id. at 843. At this step, the interpretation is “given

controlling weight unless” it is “manifestly contrary to the statute.” Id. at 844. The question at

this step “is not whether the [plaintiff’s] proposed alternative is an acceptable policy option but

whether the [agency action] reflects a reasonable interpretation of [the statute].” Coal. for

Common Sense in Gov’t Procurement v. United States, 707 F. 3d 311, 317 (D.C. Cir. 2013).

       Here, the plain language of the statute demonstrates that Congress did not intend the

common law act of God defense to apply under OPA. Instead, Congress provided an explicit

statutory definition. Taylor Energy’s claim that the NPFC should have applied the common law

standard thus founders on the plain language of the statute. To the extent that the statutory

language contains any ambiguity, the NPFC’s narrow interpretation of the act of God defense is

entirely “reasonable and consistent” with the statutory purpose and legislative history. GTE

Serv. Corp. v. FCC, 205 F.3d 416, 421 (D.C. Cir. 2000). The permissibility of the NPFC’s

construction is confirmed by the fact that the NPFC’s statutory construction is essentially an

adoption of the Apex Oil court’s construction. While Taylor Energy may present alternative

readings of the OPA defense, such claims fail in the face of the agency’s carefully considered

decision. See Serono Lab’ys, Inc. v. Shalala, 158 F.3d 1313, 1321 (D.C. Cir. 1998)

(under Chevron step two, “courts are bound to uphold an agency interpretation as long as it is

reasonable—regardless whether there may be other reasonable, or even more reasonable,

views”); Bush–Quayle ‘92 Primary Comm., Inc. v. FEC, 104 F.3d 448, 453 (D.C. Cir. 1997)




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(“When confronted with alternative sensible readings of an ambiguous statute the court is

directed by Chevron to adopt the one the agency presents.” (citing Chevron, 467 U.S. at 844)).

       The NPFC’s interpretation of the OPA act of God defense is entitled to Chevron

deference because OPA authorizes the NPFC to make rules, regulations and decisions in

administering OPA, and the NPFC’s statutory interpretation in this case arose out of that

delegation. See Gonzales v. Oregon, 546 U.S. 243, 255–56 (2006); Fox v. Clinton, 684 F.3d at

83. That the NPFC made its interpretation through informal adjudication does not preclude

judicial deference. See Barnhart v. Walton, 535 U.S. 212, 221 (2002). In Barnhart, the Supreme

Court explained that an agency’s statutory interpretation through means less formal than “notice

and comment” rulemaking can warrant Chevron deference depending on several factors.

Id. at 222; see also United States v. Mead Corp., 533 U.S. 218, 230–31 (2001) (“The want of

[notice and comment] does not decide the case.”). 9

       The same factors the Supreme Court found supported Chevron deference in Barnhart are

present here. As to the initial factor—“the interstitial nature of the legal question[s],” Barnhart,




9
  The D.C. Circuit has granted Chevron deference to agency statutory interpretations arising
from informal adjudications. See, e.g., Menkes v. U.S. Dep’t of Homeland Sec., 637 F.3d 319,
331 (D.C. Cir. 2011) (affording Chevron deference to Coast Guard decision in adjudicatory
proceeding because it was “bound up with the administration of the . . . scheme of
regulating”); Mylan Labs., Inc. v. Thompson, 389 F.3d 1272, 1280 (D.C. Cir. 2004)
(according Chevron deference to FDA letter due to “complexity of the statutory regime under
which the FDA operates, the FDA’s expertise[, and] the careful craft of the scheme it devised to
reconcile the various statutory provisions”). The NPFC itself has received deference to its
statutory interpretations arising from informal adjudications. See Buffalo Marine Servs. Inc. v.
United States, 663 F.3d 750, 754–57 (5th Cir. 2011) (concluding that the NPFC’s statutory
interpretation issued via informal adjudication is entitled to Chevron deference); Gatlin Oil Co.
v. United States, 169 F.3d at 210 (same); Am. Steamship Owners Mut. Prot. & Indem. Ass’n, Inc.
v. United States, 489 F. Supp. 3d 106 (E.D.N.Y. 2020) (same); but cf. Water Quality Ins.
Syndicate v. United States, 225 F. Supp. 3d 41, 72 (D.D.C. 2016) (concluding no deference
warranted where the NPFC offered almost no explanation or analysis for term defined in
informal adjudication).
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535 U.S. at 222—both questions at issue (i.e. how to construe exceptions to liability and the

applicability of the common law) are important to the administration of the statute as a whole.

The NPFC is uniquely well placed to resolve these interstitial questions. As for the second

factor—“the related expertise of the Agency,” id.—the NPFC is an expert in determining which

claims qualify for reimbursement and which do not. See Bean Dredging, 773 F. Supp. 2d at 81.

Interpreting statutory defenses falls squarely within this expertise. As for the third factor—“the

importance of the question to administration of the statute,” Barnhart, 535 U.S. at 222—

determining how to construe the defenses and whether the common law applies are questions of

great importance to the administration of the statute. In many close cases, the answer to these

questions could determine which claims succeed or fail. As to the fourth factor—“the

complexity of that administration,” id.—the administration is complex because there are many

different types of claims involving extraordinarily technical factual determinations. As to the

final factor—“the careful consideration the Agency has given the question over a long period of

time,” id.—the NPFC first articulated these positions in its informal adjudication of the Apex Oil

case—nearly 20 years ago. See generally Def.’s United States’ Opp’n to Pl.’s Cross Mot. for

Summ. J. at 4, Apex Oil Co. v. United States, No. Civ.A. 01-CV-0768, 2001 WL 34784466 (E.D.

La. Dec. 31, 2001) (defending agency adjudication and construing the OPA act of God claim in

light of the CERCLA and CWA definitions with no reference to common law cases); id. at 4

(“Exceptions to liability for pollution incidents must be narrowly construed.”).

       Even if the court were to determine that Chevron deference was inapplicable to this case,

the NPFC’s determination deserves Skidmore deference. Under Skidmore, an agency’s statutory

interpretation is “‘entitled to respect’ . . . to the extent it has the ‘power to persuade.’” Gonzales,

546 U.S. at 256 (quoting Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944)); accord Cnty. of



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Maui, Hawaii v. Hawaii Wildlife Fund, 140 S. Ct. 1462, 1474 (2020) (“Even [in the absence of

Chevron deference], we often pay particular attention to an agency’s views in light of the

agency’s expertise in a given area, its knowledge gained through practical experience, and its

familiarity with the interpretive demands of administrative need.”). “The weight of such a

judgment in a particular case will depend upon the thoroughness evident in [the agency’s]

consideration, the validity of its reasoning, its consistency with earlier and later pronouncements,

and all those factors which give it power to persuade, if lacking power to control.” Gonzales,

546 U.S. at 268 (quoting Skidmore, 323 U.S. at 140). Here, for the reasons stated in the

preceding analysis, Skidmore deference would be appropriate.

       C.      Taylor Energy’s Arguments that the NPFC Misconstrued the Statute Fail.

       Taylor Energy raises three arguments against the NPFC’s interpretation of the OPA act of

God defense. None are persuasive.

               1. The NPFC Did Not “Add Elements” to the OPA Act of God Defense.

       Taylor Energy contends that the NPFC “impermissibly added elements to the act of God

defense.” Pl.’s. Br. at 34. Specifically, Taylor Energy claims that the NPFC added

“unprecedented” to the definition and erred by saying that Taylor Energy had to prove that the

MC-20 incident was “one of the most grave, exceptional, inevitable and irresistible [natural

phenomena] of all time.” 10 Id. at 25 (quoting AR 2212).



10
  In its motion, Taylor Energy also claims that the NPFC required Taylor Energy to prove “freak
conditions.” Pl.’s Br. at 25. This is false. The NPFC merely used the term “freak conditions” to
quote an expert who opined that Hurricane Ivan-induced waves were not “an unexpected event”:

       “[T]he NPFC relies on the opinion proffered by Dr. Cortis Cooper and others,
       which states that ‘[while] Ivan generated the highest waves ever measured or hind
       cast in the Gulf of Mexico... [it] does not appear to have generated any freak
       conditions unexplainable by present hind cast methods or physical understanding

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       Taylor Energy already raised these contentions in its Request for Reconsideration, AR

307–08, and the NPFC’s Determination on Reconsideration explained that no elements were

added to the definition:

       NPFC acknowledges its use of “unprecedented” in its determination but notes it
       only did so in response to Taylor’s arguments. Taylor uses the term
       “unprecedented” on 22 separate occasions in its original claim submission to
       describe the winds, waves, and other characteristics associated with Hurricane Ivan.
       In responding, the NPFC uses the term three times, and on each occasion to either
       quote a judicial decision or explain a case or a series of cases that preceded it. To
       be clear, the NPFC did not impermissibly add any elements to the statutory defense
       when it adjudicated the original claim.

AR 8. As for Taylor Energy’s complaint about the NPFC saying that Taylor Energy had to

prove the event was one of the most exceptional of all time, the NPFC’s statement must be read

in context. The NPFC had explained that no claimant raising an act of God defense under the

three environmental law statutes had ever been successful. See AR 2204. Compared to this

uniform history of courts determining that natural disasters and other natural phenomena were

not acts of God under the environmental statutes, the NPFC was conveying that Taylor Energy

had a high bar indeed.

       Though Taylor Energy hangs much of its argument on this single sentence, what matters

is the NPFC’s statutory interpretation as a whole. As described supra at 12–16, the NPFC

closely considered the text, statutory purpose, and the legislative history of analogous statutory

provisions, and then articulated and applied the proper legal standard in its decision documents.

Indeed, the NPFC quoted the statutory text verbatim in the decision documents 10 times. See

AR 3; (stating the act of God definition verbatim) AR 8 (same); AR 11 (same); AR 11 n.56



       of hurricane winds and waves. Hence, the extreme waves generated by Ivan do not
       appear to be an unexpected event.’"

AR 2210 (citations omitted).
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(same); AR 2200 (same); AR 2204 (same); AR 2206 (same) AR 2207 (same); AR 2207–08

(same); AR 2220 (same). In short, the NPFC neither added elements to the OPA act of God

definition nor impermissibly heightened the standard. AR 8.

               2. The NPFC’s Reliance on Legislative History Was Appropriate.

       Taylor Energy argues that the NPFC was wrong to rely on legislative history from

CERCLA and the CWA. 11 Pl.’s. Br. at 25–26. Taylor Energy says that this was inappropriate

because (1) the OPA act of God definition is not ambiguous; and (2) CERCLA and CWA

legislative history does not bear on an OPA provision. Id.

       It is true that, as discussed supra at 16–17, the OPA act of God definition unambiguously

excludes the common law act of God definition that Taylor Energy seeks to apply. Contrary to

Taylor Energy’s assertions, however, the NPFC’s reliance on legislative history to interpret the

statutory definition was appropriate. The D.C. Circuit has long recognized that legislative

history is critical to understanding statutory text, with or without ambiguity. E.g. Nat. Res. Def.

Council, Inc. v. Browner, 57 F.3d 1122, 1127 (D.C. Cir. 1995) (“Reference to statutory design

and pertinent legislative history may often shed new light on congressional intent,

notwithstanding statutory language that appears ‘superficially clear.’”); Planned Parenthood

Fed’n of Am., Inc. v. Heckler, 712 F.2d 650, 656–57 (D.C. Cir. 1983) (“Although we find that




11
  In this section of its motion, Taylor Energy also argues that, in the OPA act of God definition,
the NPFC replaced the word “or” with the word “and.” Pl.’s Br. at 26 (citing AR 14 (“An "act of
God" must be of exceptional, inevitable and irresistible character, the effects of which could not
have been prevented or avoided by the exercise of due care and foresight.”) (emphasis added)).
Taylor Energy is correct about the replaced word, but this was merely a typographical error. In
the heading immediately before the error, the NPFC correctly stated the standard with the word
“or.” AR 14. Moreover, in every other recitation of the full standard, the NPFC used the correct
conjunction. See AR 3; (stating the act of God definition verbatim) AR 8 (same); AR 11 (same);
AR 11 n.56 (same); AR 2200 (same); AR 2204 (same); AR 2206 (same) AR 2207 (same); AR
2207–08 (same); AR 2220 (same).
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the ‘plain meaning’ of the statute is clear from its terms, we note that the legislative history is

equally illuminating in this case.”); see OSG Bulk Ships, Inc. v. United States, 921 F. Supp. 812,

819 (D.D.C. 1996), aff’d, 132 F.3d 808 (D.C. Cir. 1998) (“To determine whether the intent of

Congress is clear and unambiguous, the Court must examine the text, the structure and the

legislative history of the Act.”). Moreover, the type of legislative history that the NPFC relied

upon—committee reports—is the best source of legislative history. Dig. Realty Tr., Inc. v.

Somers, 138 S. Ct. 767, 782–83 (2018) (Sotomayor, J., concurring) (“It is . . . no surprise that

legislative staffers view committee and conference reports as the most reliable type of legislative

history.”).

        The NPFC was well advised to consider the legislative history of both CERCLA 12 and

the CWA because these statutes have identical and similar act of God definitions, respectively,

and “[t]here is a presumption that Congress uses the same term consistently in different statutes.”

Nat’l Treasury Employees Union v. Chertoff, 452 F.3d 839, 857–58 (D.C. Cir. 2006); see also

Hawaiian Airlines, Inc. v. Norris, 512 U.S. 246, 254 (1994). “[P]arallel provisions give ‘a strong

indication’ that the common term should be construed consistently under each statute.” Nat’l

Treasury Employees Union, 452 F.3d at 858 (quoting Indep. Fed’n of Flight Attendants v.




12
   Taylor Energy says that the CERCLA legislative history that the NPFC cited “was actually a
1986 House Committee report written six years after the definition of ‘act of God’ was adopted
by Congress and cannot be considered evidence of Congress’ intent when it adopted the
definition in 1980 in connection with CERCLA.” Pl.’s Br. at 26. The D.C. Circuit has already
rejected this argument. See State of Ohio v. U.S. Dep't of the Interior, 880 F.2d 432, 453 n.30
(D.C. Cir. 1989). In State of Ohio, the D.C. Circuit explained that Congress amended and
reenacted the entire CERCLA statute in 1986, in the Superfund Amendments and
Reauthorization Act (SARA), Pub. L. No. 99–499, 100 Stat. 1613 (1986). See State of Ohio, 880
F.2d at 438, 453 n.30. As such, enactment of preexisting CERCLA provisions can show “that
Congress made a conscious decision not to amend the operative language.” Id. To the extent
that a Congressional report shows the SARA sponsors’ view of the statute, “it would be
misguided to dismiss that report as mere postenactment history.” Id.
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Zipes, 491 U.S. 754, 758 n.2 (1989)); see also Kooritzky v. Herman, 178 F.3d 1315, 1319 (D.C.

Cir. 1999) (explaining that similar language in different statutes is a strong indication that the

language should be interpreted alike).

       The common terminology is no surprise, as OPA’s legislative history indicates that the

Act “amended, expanded, and strengthened pre-existing statutes that addressed oil spill cleanup,

liability and compensation.” Apex Oil, 208 F. Supp. 2d at 654 (citing OPA legislative history);

see S. Rep. No. 101–94, reprinted in 1990 U.S.C.C.A.N. News 722, 726 (“This bill adopts [the

Section 311 of the Clean Water Act] standards for economic damages, as well as for removal

costs and natural resource damages.”). Indeed, courts interpreting OPA provisions universally

look to interpretations of similar CWA and CERCLA provisions. See, e.g., United States v.

Bros. Enter., Inc., 113 F. Supp. 3d 907, 913 (E.D. Tex. 2015) (observing that “courts frequently

look [to CERCLA] when interpreting OPA”); United States v. Mizhir, 106 F. Supp. 2d 124, 125

(D. Mass. 2000) (adopting the CWA definition of “navigable waters” to determine applicability

of OPA); Plantation Pipeline Co. v. Oil Spill Liability Trust Fund, 1998 U.S. Dist. LEXIS 23671

at *15 (N.D. Ga. June 16, 1998) (adopting CWA definition of “waters of the United States” to

determine whether spill threatened navigable waterway under OPA); United States v. J.R.

Nelson Vessel, 1 F. Supp. 2d 172, 176 n.2 (E.D.N.Y. 1998) (OPA “Act of God” language), aff’d,

173 F.3d 847 (2d Cir. 1999); Int’l Marine Carriers v. Oil Spill Liab. Trust Fund, 903 F. Supp.

1097, 1102-03 (S.D. Tex. 1994) (looking to CERCLA to interpret third-party defense to liability

in a cost-recovery action under OPA).

       Finally, the propriety of the NPFC’s use of legislative history from other statutes is

confirmed by the only court to have construed the OPA act of God defense—which explicitly

relied on the legislative history of both CERCLA and the CWA. See Apex Oil, 208 F. Supp. 2d



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at 653–54; see also Water Quality Ins. Syndicate, 225 F. Supp. 3d at 74 (considering both CWA

and CERCLA legislative history in the course of interpreting the OPA term “gross negligence”).

Therefore, Taylor Energy’s objections to the NPFC’s use of legislative history are not well

founded.

               3. The NPFC Correctly Interpreted the Case Law.

       Taylor Energy boldly claims that all “the cases relied upon by the NPFC are not proper

precedent and are clearly distinguishable.” Pl.’s. Br. at 27. Taylor Energy first considers the

Apex Oil case and, omitting any discussion of the Apex Oil court’s statutory interpretation, says

the case is distinguishable on its facts. Id. at 27–28. Next, Taylor Energy objects to the NPFC’s

reliance on the CWA and CERCLA act of God cases and, in any event, insists that they are

factually distinguishable. Id. at 29.

       Taylor Energy is simply wrong that the cases are “not proper precedent.” Apex Oil is

directly on point, and the cases featuring the identical CERCLA definition and the similar CWA

definition are relevant for the reasons explained in the preceding section. 13 Moreover, while it is

true that none of the cases the NPFC relied on precisely match the facts of this case, they

nonetheless exhibit general themes that support the NPFC’s analysis of the MC-20 incident: (1)

the act of God defense is narrow in light of the fact that no claimant has ever successfully

brought it; (2) natural phenomena occurring in a region and at a time when they are known to




13
  Taylor Energy acknowledges that OPA and CERCLA/CWA have “substantially similar” act of
God provisions but insists that they must be construed differently because the CERCLA/CWA
were “adopted under different pretexts [sic]” than OPA. Pl.’s Br. at 29 n.20. According to
Taylor Energy, CERCLA/CWA exceptions to liability are strictly construed because the public
would otherwise have to foot the bill, but OPA should be construed broadly because the Oil Spill
Liability Trust Fund is “[i]n effect” an “an industry-funded insurance policy.” Id. at 4 n.2, 29
n.20. As the United States explained above, however, Taylor Energy’s characterizations of the
Fund are misleading and incorrect. See note 3, supra.
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occur should generally not be considered “unanticipated,” see Sabine Towing, 666 F.2d at 565;

Apex Oil, 208 F. Supp. 2d at 656–57; and, (3) likewise, storms that were actually forecast, such

that the responsible facility/vessel should have prepared itself for the event, cannot be considered

“unanticipated,” see United States v. M/V Santa Clara I, 887 F. Supp. 825, 830, 843 (D.S.C.

1995); Kyoei Kaiun Kaisha v. M/V Bering Trader, 795 F. Supp. 1054, 1055 (W.D. Wash. 1991).

         Curiously, though Taylor Energy attacks the NPFC’s consideration of CERCLA and

CWA act of God cases, Taylor Energy argues that the NPFC should have considered a case from

a body of law much farther afield—a common law negligence case. In an apparent nod to its

“common law incorporation” theory, Taylor Energy argues that the NPFC erred by not

considering Pioneer Natural Resources USA, Inc. v. Diamond Offshore Co., 638 F. Supp. 2d 665

(E.D. La. 2009). Pl.’s. Br. at 27. As the NPFC explained in its decision, common law cases are

not relevant to the OPA act of God inquiry due to the wholly different context in which they

arise.

         In sum, the NPFC correctly articulated and interpreted the statute; this interpretation is

entitled to deference; and Taylor Energy’s arguments to the contrary are unpersuasive.

 II.     The NPFC’s Application of the Law to the Facts Was Not Arbitrary and Capricious.

         In this section, the United States (A) describes the NPFC’s application of the law to the

facts, in which the NPFC examined the relevant data, made factual findings supported by

substantial evidence, and articulated a satisfactory explanation for its action including a rational

connection between the facts found and the choice made. Next, the United States (B) explains

why Taylor Energy’s arguments attacking the NPFC’s analysis fail. In particular: (1) the NPFC

did not err by considering the frequency and intensity of Gulf hurricanes; (2) Taylor Energy

should be judicially estopped from challenging the NPFC’s descriptions of the failure



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mechanism as “a mudslide”; (3) the NPFC did not err in concluding that Taylor Energy’s failure

to conduct high resolution seafloor surveys “could have contributed” to the platform’s

destruction; (4) the NPFC considered all relevant data; and (5) the NPFC did not err by

considering post-1983 data in its decision.

       A.      The NPFC Examined the Relevant Data, Made Factual Findings Supported
               by Substantial Evidence, and Articulated a Satisfactory Explanation for Its
               Action.

               1. Taylor Energy Contended that the Hurricane Ivan Waves Were an Act of
                  God.

       In its claim submissions, Taylor Energy argued the Hurricane Ivan’s “unprecedented,

massive waves” constituted an OPA act of God. AR 2289, 2383. For reference, Taylor Energy

pointed to the “100-year design storm wave” created by Dr. Suhayda in the early 1980s for the

MC-20 site. See AR 2306, 2317–20. The “100-year design storm wave” sought to forecast “the

worst expected wave conditions likely to occur at the platform’s location in a 100-year time

frame.” See AR 2306, 2317. The Hurricane Ivan-induced wave heights and periods were

substantially beyond what Dr. Suhayda had forecast. AR 2329–30. Taylor Energy claimed that

the wave height-period combination exerted “extraordinary” pressures on the seafloor sediments

that had a return interval of over 2,000 years and caused a “seafloor failure” that toppled the MC-

20 platform. AR 2285–86.

               2. The NPFC Considered Taylor Energy’s Evidence and the Opinions of
                  Independent Experts.

       To assess these claims, “the agency ‘examine[d] the relevant data.’” See Baystate

Franklin Med. Ctr., 950 F.3d at 89 (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)). The NPFC primarily relied on two sources




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of information. First, the NPFC considered Taylor Energy’s voluminous submissions. AR 15. 14

Second, the NPFC contracted with several experts in the fields of meteorology, oceanography,

geotechnical engineering, geology and hydrographic/geophysical surveys. 15 AR 3–4. The

NPFC tasked these experts with reviewing Taylor Energy’s submitted information for accuracy

and to conduct research and analysis with the overall objective of providing impartial and

unbiased opinions on the MC-20 incident. AR 3–4. The experts reached four general

conclusions that refuted Taylor Energy’s contention that Ivan’s waves were “unprecedented” and

could not have been anticipated.

       First, the experts concluded that a hurricane of Ivan’s intensity is not rare within the Gulf

of Mexico. 16 AR 16. They estimated the recurrence interval of such a storm to be

approximately 5 to 10 years. AR 16 (citing AR 20623–47 (GZA Report Appendix G)).




14
   In its Determination on Reconsideration, the NPFC noted that though it did not discuss each of
Taylor Energy’s submissions in the decisional documents, such as Taylor Energy’s “detailed
history of offshore oil and gas development,” the NPFC reviewed and considered the material.
AR 8; see Lorion v. U.S. Nuclear Regulatory Comm'n, 785 F.2d 1038, 1042 (D.C. Cir. 1986)
(“[T]he failure to mention certain evidence [does not mean] that it was not considered, nor does
it follow that an explanation is incomplete unless it dutifully lists all the evidence that the
[agency] examined.”).
15
  The reports are as follows: April 1, 2019 Pettigrew Report, AR 20030–61; May 15, 2019
Pettigrew Report, AR 20062–91; June 25, 2019 NGI Report, AR 20092–182; July 2019 ABSG
Report, AR 20183–243; June 2019 David Evans & Associates Report, AR 20244–76; August
2019 Pettigrew Response Comments, AR 20277–301; June 2019 GZA Conclusions, AR 20302–
04; Aug 2019 GZA Technical Report AR 20305–622; GZA Report Appendix G, AR 20623–47;
GZA Report Appendix J, AR 20648–60; GZA Report Appendix K, AR 20661–72; GZA Report
Appendix L, AR 20673–90; GZA Report Appendix N, AR 20691–98; GZA Report Appendix O,
AR 20699–711.
16
  Taylor Energy itself recognizes that Ivan was not exceptional. Compl. ¶ 40 (referring to Ivan
as “a classical, long-lived Cape Verde hurricane”); Pl.’s Br. at 36 (“(“The general meteorological
characteristics of the storm were not exceptional for a Category 4 or 5 hurricane.” (quoting AR
2327)).

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       Second, the experts estimated that the recurrence interval for the Hurricane Ivan-induced

waves was approximately 100 years (as opposed to Taylor Energy’s estimate of 2,000 years).

AR 16 (citing AR 20648–60 (GZA Report Appendix J)); see also AR 17 (citing Berek et al.,

2007 for conclusion that wave heights in water depths similar to the former MC-20 platform of

around 86 feet have recurrence intervals of about 100 years and wave heights similar to

Hurricane Ivan’s waves have recurrence intervals on the same order of magnitude of 100 years);

AR 17 (citing Cooper et al., 2005 for conclusion that Hurricane Ivan-induced waves, though

powerful, were explainable by present hindcast methods)).

       Third, the experts concluded that Dr. Suhayda’s 1983 analysis contained substantial flaws

and, but for these flaws, the analysis could have forecast the Hurricane Ivan-induced conditions

at the site. AR 17–19. The primary flaw concerned Dr. Suhayda’s 100-year storm wave

design. 17 When Dr. Suhayda designed this wave, he relied on a single wave condition—a wave

with a single wave height and a single wave period—and used this wave condition to compute

maximum bottom pressure during the 100-year storm. AR 17; see AR 20661–72 (GZA Report

Appendix K). However, this approach is inherently flawed and fails to accurately forecast the

most extreme bottom pressures a site would experience. AR 17 (“While the combination

selected by Dr. Suhayda might have been a good choice to compute extreme forces on the MC-

20A platform, . . . longer periods should have been selected associated with smaller wave heights

in order to find the maximum bottom pressure during a given storm segment.”) (citing AR




17
  Other substantial flaws included that Dr. Suhayda omitted any mention of the “unstable
subaqueous nature of the bottom in this region,” AR 19 (citing AR 20030–61 (Pettigrew
Report)), and he failed to use a safety factor or otherwise account for “uncertainties” in the
calculation of parameters when designing his 100-year storm wave for the MC-20 platform, see
AR 20057.

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20691–98 (GZA Report Appendix N), 20821–48 (Bea et al. 1983)). Instead of a single wave

condition, Dr. Suhayda should have considered various combinations of wave height and wave

period, which would have more accurately forecast bottom pressures at the site. 18 AR 17.

       At the time Dr. Suhayda selected his design, all of the elements to make a correct design

decision were available. AR 17 (citing AR 20699–711 (GZA Appendix O), 20802–20 (Longuet-

Higgins)). As such, Taylor Energy’s claim that early 1980s wave-forecasting methodology

could not have anticipated the wave heights and periods produced by Hurricane Ivan’s

characteristics is incorrect. Indeed, Dr. Suhayda properly forecast the wave heights and periods

in 1983; he simply failed to perform the correct statistical analysis. AR 19 (citing AR 20699–

711 (GZA Appendix O)).

       Fourth, the experts opined that Dr. Suhayda’s report and Woodward-Clyde’s design of

the MC-20 platform failed to take into account Hurricane Camille—a 1969 hurricane that

destroyed offshore oil platforms in the Mississippi River Delta and caused mudflows of 70-90

feet of thickness. AR 18–19. The occurrence of this similar storm in the same vicinity as the

MC-20 platform, just 14 years prior to 1983, should have been considered. AR 18–19 (citing

AR 20821–48 (Bea report)).

               3. The NPFC Determined Taylor Energy Failed to Prove the MC-20 Oil
                  Discharge Was Caused by an Act of God.

       Upon carefully considering Taylor Energy’s evidence, as well as the evidence of the

independent experts, the NPFC determined that Taylor Energy failed to prove by a




18
  See also AR 18–19 (“In addition to using a design wave spectrum in lieu of a single wave
condition design wave, Dr. Suhayda should have used longer periods associated with shorter
waves in the standard distribution in order to find the likely maximum bottom pressures during a
given storm.”).
                                               30
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preponderance of the evidence that the MC-20 oil discharge was caused solely by an act of God

under OPA. AR 20. The NPFC summarized its factual findings and conclusions as follows:

               Hurricanes are common occurrences, especially in the Gulf of Mexico. In
       fact, there have been over 300 hurricane strikes in the Atlantic and Gulf coast
       regions since 1851. They are certainly not unanticipated. Hurricanes bring with
       them several known characteristics, including high winds, high waves, and high
       wave pressures. While the intensity may vary from storm to storm, it is
       unquestioned that these characteristics are attendant, in one way or another, with
       all hurricanes. There can be little doubt that Taylor was well-aware of the
       propensity and intensity of hurricanes in Gulf of Mexico.
               The unstable subsea conditions at MC-20 were also well-known. Research
       was clear far before Taylor assumed the lease that the submerged delta apron
       consisted of thick, very weak sediments that are inherently unstable and vulnerable
       to hurricane wave-induced failure and that even a small change in prevailing
       conditions, such as wave input, can trigger a mudflow. As a result, wave-induced
       bottom pressures accompanying large hurricanes can cause spectacular failures of
       the accumulated sediments. Yet despite this research Taylor made the decision to
       acquire the lease. It cannot later successfully claim that this instability was
       unanticipated.

AR 27–28.

       The NPFC then went on to summarize the flaws identified by its experts and discussed

above, such as the flaws in Dr. Suhayda’s methodology and the complete failure to account for

Hurricane Camille. AR 28. The NPFC then concluded that “[h]ad the proper methodology been

used, . . . Ivan’s wave pressures would have fallen into the ‘expected’ range.” AR 28. It further

noted that “Taylor did not comply with a mandate of the MMS to conduct geophysical surveys of

the site biennially and following major storms,” and that “it is possible that the geophysical

surveys could have detected sediment instabilities in and around the MC-20A platform that could

have been rectified prior to Ivan.” AR 28–29. Thus, Taylor’s “failure to conduct these surveys

calls into question whether the incident was the sole cause of the structure’s failure.” AR 29. As

the NPFC concluded:

             Ultimately, Taylor made a decision to purchase the MC20 lease and fixtures
       knowing that the lease was located on a tract of land that was identified to contain
       geohazardous conditions and described to contain instabilities caused by
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         unconsolidated sediments, slumping, shallow faulting or gaseous sediments in an
         area of the country prone to hurricanes. It is the determination of the NPFC that
         Taylor should remain liable for this decision as its act of God defense fails.

AR 29.

         B.     Taylor Energy’s Arguments that the NPFC’s Methodology, Findings and
                Conclusions Were Arbitrary and Capricious Fail.

                1. The NPFC Did Not Err by Considering Hurricane Ivan in Its
                   Adjudication of Taylor Energy’s Claim.

         Taylor Energy contends that the NPFC “misconstrue[d] . . . the actual ‘act of God’ event

and failure mechanism” by focusing on Hurricane Ivan rather than the extraordinary waves

caused by Ivan. Pl.’s. Br. at 36 (capitalization altered). Taylor Energy says that the NPFC

should have considered the “natural phenomenon as a whole,” which it defines as “the

combination of the height of the waves, the long periods and the extreme downward pressures on

seafloor sediments.” Id. at 37–38. Curiously, Taylor Energy concludes that the hurricane itself

was not part of the natural phenomenon as a whole. 19

         As a threshold matter, the NPFC did consider all the information that Taylor Energy says

should have been considered (i.e. the wave height and periods and their downward pressures on

the soil). See AR 16–22. More to the point, however, Taylor Energy’s argument is illogical.

Hurricane Ivan was the precipitating factor in the MC-20 incident, and the NPFC was correct to

consider it—including its intensity and the frequency of like storms. The reasons Taylor Energy

wishes that the NPFC had not considered hurricane frequency are apparent. The independent



19
  In the past, Taylor Energy has acknowledged that Hurricane Ivan caused the destruction of its
platform. Compl. ¶ 9, Taylor Energy Company, L.L.C. V. Underwriters at Lloyd's London, No.
2:09cv6383, (E.D. La. Sept. 18, 2009), ECF No. 1 (“On September 15, 2004, Hurricane Ivan
passed through the Gulf of Mexico . . . , causing significant damage to many offshore facilities,
including MC20 and its 28 oil and/or gas wells and pipelines associated therewith.”). As
explained in more detail infra at 33–35, the Court should estop Taylor Energy from taking
inconsistent positions in the instant case.
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experts and Taylor Energy itself all recognize that Ivan was not exceptional, AR 16 (citing AR

20623–47). Pl.’s. Br. at 36 (“The general meteorological characteristics of the storm were not

exceptional for a Category 4 or 5 hurricane.” (quoting AR 2327)), and numerous sources suggest

that a hurricane in an area known for hurricanes cannot be an act of God under OPA, see Apex

Oil, 208 F. Supp. 2d at 654; H.R. Rep. No. 99–253(IV), 1986 U.S.C.C.A.N. 3068, 3100

(CERCLA legislative history); H.R. Rep. No. 91-940 (1970) (Conf. Rep.), reprinted in 1970

U.S.C.C.A.N. 2712, 2722 (CWA legislative history). Here, Hurricane Ivan is just such a

hurricane, and the NPFC committed no error in considering its characteristics in adjudicating

Taylor Energy’s claim.

               2. Taylor Energy Should Be Judicially Estopped from Arguing that the
                  NPFC Erred by Referring to the Failure Mechanism as a Mudslide.

       Taylor Energy contends that the NPFC “misconstrue[d] . . . the actual ‘act of God’ event

and failure mechanism” by referring to the mass sediment movement that toppled the MC-20

platform as a “mudflow or mudslide.” Pl.’s. Br. at 35, 38. Taylor Energy protests that “the

MC20A Platform was not toppled by a mudslide or mudflow overrunning the platform site, but

rather a massive progressive seafloor failure . . . .” Id. at 38 (emphasis in original).

       Taylor Energy should be judicially estopped from arguing that the NPFC’s

characterization of the “failure mechanism” as a “mudflow or mudslide” renders the decision

arbitrary and capricious. For years, Taylor Energy has represented that a “mudslide” toppled the

MC-20 platform. Even in the instant claims process, Taylor Energy’s own experts regularly

refer to the failure mechanism as a mudslide, e.g. AR 6474 (“In September 2004, the MC 20

field was devastated by Hurricane Ivan, which created mudslides that toppled and displaced the

MC 20 platform.”); AR 6489; AR 6519; AR 13866, and even equate “mudslide” with “slope

failure,” AR 6489 (“[Ivan-induced seafloor pressure] changes in the vicinity of MC 20 initiated

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submarine slope failures (mudslides).”), AR 13560. But now, upon determining it is in its

interest to say otherwise, Taylor Energy attempts to recast the failure mechanism as a “seafloor

failure.” Pl.’s. Br. at 6.

        “Judicial estoppel ‘prevents a party from asserting a claim in a legal proceeding that is

inconsistent with a claim taken by that party in a previous proceeding.’” Marshall v. Honeywell

Tech. Sys. Inc., 828 F.3d 923, 928 (D.C. Cir. 2016) (quoting New Hampshire v. Maine, 532 U.S.

742, 749 (2001)). “[J]udicial estoppel is an equitable doctrine invoked by a court at its

discretion.” New Hampshire, 532 U.S. at 750 (internal quotation marks omitted). The Supreme

Court has enumerated three non-exhaustive factors that inform the Court’s decision of whether to

invoke the rule. Id. at 750-51 (internal quotation marks omitted).

        Here, all three factors favor judicial estoppel. The first factor is that “a party’s later

position must be clearly inconsistent with its earlier position.” Id. (internal quotation marks

omitted). There is no question this applies to Taylor Energy’s about-face. For years, Taylor

Energy has consistently referred to the mass sediment movement that toppled the MC-20

platform as a mudslide. E.g., Compl. ¶ 11, Taylor Energy Company, L.L.C. v. Underwriters at

Lloyd’s London, No. 2:09cv6383, (E.D. La. Sept. 18, 2009), ECF No. 1 (“MC20 was toppled and

carried downslope by the storm-initiated mudslide.”); Mot. to Dismiss at 5, Apalachicola

Riverkeeper Et Al v. Taylor Energy Company, L.L.C., No. 2:12-cv-00337 (E.D. La. April 25,

2012), ECF No. 15-1 (referring to the sediment movement as “[a] massive sea floor mudslide”

and as a “[t]he mudslide”). Now Taylor Energy claims that “the MC20A Platform was not

toppled by a mudslide or mudflow overrunning the platform site, but rather a massive

progressive seafloor failure . . . .” Pl.’s. Br. at 38 (emphasis in original).




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       The second factor is “whether the party has succeeded in persuading a court to accept that

party’s earlier position, so that judicial acceptance of an inconsistent position in a later

proceeding would create the perception that either the first or the second court was misled.” New

Hampshire v. Maine, 532 U.S. at 750 (internal quotation marks omitted). In the earlier cases, the

courts accepted Taylor Energy’s allegation that a mudslide toppled the platform. See Order at 1,

Apalachicola Riverkeeper Et Al v. Taylor Energy Company, L.L.C., No. 2:12-cv-00337 (E.D. La.

May 4, 2013), ECF No. 66 (“In September 2004, a mudslide triggered by Hurricane Ivan

destroyed a number of oil wells owned by Taylor.”); Order at 6, Taylor Energy Company, L.L.C.

v. Underwriters at Lloyd’s London, No. 2:09cv6383, (E.D. La. Oct. 29, 2010), ECF No. 96

(“During the course of the hurricane, the MC20 platform and its associated wells were buried

due to an undersea mudslide event during the storm.” (citing MMS letter attached to affidavit of

William Pecue, Taylor Energy’s CEO)).

       The third factor is the “whether the party seeking to assert an inconsistent position would

derive an unfair advantage or impose an unfair detriment on the opposing party if not

estopped.” New Hampshire, 532 U.S. at 751 (internal quotation marks omitted). Here, Taylor

Energy would derive an unfair advantage from its gamesmanship. Taylor Energy attacks the

NPFC for characterizing the event in exactly the same manner that Taylor Energy has done for

years. In view of all three factors, Taylor Energy should be estopped from taking the position

that the NPFC’s decision is arbitrary and capricious for describing the failure mechanism as a

mudslide or mudflow.

               3. The NPFC Correctly Determined that Taylor Energy’s Failure to
                  Conduct Seafloor Surveys “Could Have Contributed” to the Platform’s
                  Destruction.

       Taylor Energy’s contention that the seafloor surveys would have had “no probative

value” is suspect. Id. at 42. Taylor Energy’s lease required it to regularly perform “high
                                                  35
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resolution surveys” to monitor seafloor conditions. AR 6377. From 1994 to 2004, Taylor

Energy conducted only one survey in the area—a 2001 survey of MC-21 that Taylor Energy

claims partially surveyed MC-20. AR 2192. In the three years that followed before Hurricane

Ivan, there were at least seven storms that could have contributed to significant sediment

movement upslope of the platform site or significant sediment accumulation on the mudlobe

crests in the area of the platform. AR 5. But since Taylor Energy did not conduct the required

high resolution seafloor surveys during this time period, there is no way of knowing the

condition of the seafloor prior to Hurricane Ivan. Taylor Energy now seeks to benefit from this

lack of information by claiming that the surveys would not have mattered. 20 The NPFC came to

the opposite conclusion, finding that the failure to perform seafloor surveys “could have

contributed” to the collapse of the MC-20 platform. AR 27. The absence of information on

what the surveys would have shown is due to Taylor Energy’s failure to collect the information

as required, and Taylor Energy does not now deserve the benefit of the doubt.




20
   Taylor Energy argues that the one survey it conducted during its lease, in 2001, “detected a
decrease in the elevations of the mudlobe crests located upslope of the MC20A Platform of up to
30 feet.” Pl.’s Br. at 41 n.33 (emphasis added). From this, Taylor Energy infers that the risk of a
large mudslide to the MC-20 site actually decreased since the platform was built. Id. Taylor
Energy is simply incorrect. The sources it relies on do not say there was a decrease of 30 feet, let
alone that there was a decrease in the risk of a mudslide. See AR 113–134 (Suhayda report in
which he does not discuss any elevation decrease); AR 164–74 (Hooper report in which he says
there was “a small loss of elevation (a few feet)” AR 183–244 (Gilbert and Nodine report in
which they say “there was a small loss of sediment (less than 10 feet in thickness)”). Moreover,
Taylor Energy ignores the fact that there were at least seven storms that could have contributed
to significant sediment movement in the areas upslope of the MC-20 platform site or significant
sediment accumulation on the mudlobe crests in the area of the platform. See AR 20062–91.
Even assuming Taylor Energy is correct that there was a “30 foot decrease” at the site in 2001, it
completely ignores the Fugro survey it commissioned and submitted with its claim showing that
“[b]athymetric changes between 2001 and 2004 show an elevation increase (sediment
accumulation) of about 50 ft at the MC 20 ‘A’-Structure.” AR 7651 (emphasis added).

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       Since the NPFC was correct to conclude that Taylor Energy’s failure to perform high

resolution seafloor surveys “could have contributed” to the collapse of the MC-20 platform, the

NPFC’s conclusion that Hurricane Ivan waves were not the “sole cause” of the oil discharge is

well-founded. AR 27–28.

               4. The NPFC Considered All Relevant Data and Provided the Independent
                  Experts with Appropriate Instructions and Information.

       Taylor Energy raises four general challenges to the manner in which the NPFC and the

experts considered the evidence. 21 Pl.’s. Br. at 44. None are persuasive.

       First, Taylor Energy argues that the NPFC “failed to . . . provide its experts with much of

the data and opinions set forth in the Claim, Reconsideration Request, or the expert reports or

other evidence submitted therewith.” Id. at 44. In essence, Taylor Energy suggests that the APA

required the NPFC to provide its independent experts with all of Taylor Energy’s submissions.

See id. at 44–46.

       Taylor Energy’s argument fails because the APA imposes no such requirement. Rather,

the APA requires the agency to fully consider relevant evidence—not experts hired by the

agency. Thus, Taylor Energy seeks to impose upon the NPFC a procedural requirement that is




21
   Taylor Energy also claims, without any support, that the NPFC’s findings are not due any
deference because the agency has no expertise and had to hire independent experts. Pl.’s Br. at
44. Taylor Energy is wrong. The D.C. District Court has explicitly concluded that the “relevant
data” agencies must consider can include “outside expertise.” Alfa Int'l Seafood v. Ross, 264 F.
Supp. 3d 23, 60 (D.D.C. 2017). Moreover, the Court has recognized that the NPFC is an expert
in its field, Bean Dredging, 773 F. Supp. 2d at 78, and the APA mandates deference to agency
fact-finding. See 5 U.S.C. § 706(2)(E); Kappos v. Hyatt, 566 U.S. 431, 436 (2012) (affirming
review of “factual findings under the APA's deferential ‘substantial evidence’ standard”). The
APA does not condition this deference on whether an agency engages independent experts.

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not statutorily mandated. 22 See Vermont Yankee Nuclear Power Corp. v. Natural Resources

Defense Council, 435 U.S. 519 (1978) (holding that a reviewing court may not require an agency

to abide by procedures not mandated by statute or established by its own regulations). Beyond

this fatal flaw, what Taylor Energy suggests is simply impractical. Taylor Energy’s original

claim submission totaled 13,200 pages. It would have been excessive for the NPFC to ask the

experts to review all of this information—the vast majority of which had nothing to do with the

discrete questions the experts were tasked with addressing. Instead, the NPFC provided the

experts with the information necessary to render opinions. 23 To the extent the experts wanted to

consider other information, they were welcome (and sometimes even required) to do so. See,

e.g., AR 20799–801 (task order 9 requiring independent research).

       As for the specific examples of documents that Taylor Energy says should have been

given to the experts, the NPFC had valid reasons for not providing them. For instance, the NPFC

did not provide the experts with Taylor Energy’s claim because this is a “persuasive” document

that argues for Taylor Energy’s theory. 24 As explained above, the NPFC engaged the




22
  The Court has rejected Taylor Energy’s previous attempts to impose additional procedural
requirements on the NPFC. See Mem. Op. (Oct. 14, 2020) at 12–13. Nonetheless, Taylor
Energy attempts to re-litigate this issue in the instant motion. See Pl.’s Br. at 44 n.39.
23
  The task orders list what the experts considered. See AR 20921–25 (task order 8); AR 20799–
801 (task order 9); AR 20933–36 (task order 10); AR 20954–59 (task order 11); AR 20960 (task
order 14).
24
  As another example, the NPFC did not provide Dr. Hooper’s report, AR 3873–4006, to the
independent expert NGI because Dr. Hooper had personal involvement at the MC-20 site; he
served as Woodward-Clyde’s Chief Engineer and leader of its project team that conducted the
1983 geotechnical study of the MC-20. AR 5880–6088 (Woodward Report). Moreover, Dr.
Hooper’s report failed to provide a complete version of any post-2006 Fugro survey of the MC-
20 and instead provided only a brief overview of a few surveys that would have provided
insufficient detail to NGI for its review. See AR 3873–4006.

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independent experts “to provide the NPFC an objective analysis of the information relied upon

by Taylor in its claim submission.” AR 3; see AR 3–4 (describing that “the overall objective” in

hiring independent subject matter experts was to obtain “impartial and unbiased opinions on the

information presented by Taylor in support of its claim submission”). Providing the independent

experts with Taylor Energy’s “persuasive” materials would have therefore defeated NPFC’s

purpose in hiring them.

       Second, Taylor Energy says that the NPFC “hired experts to give support to its pre-

ordained conclusion to deny the Claim.” Pl.’s. Br. at 44. Taylor Energy offers no support for

this proposition—because there is none. Indeed, the Court already rejected this baseless theory

in adjudicating Taylor Energy’s motion to supplement the record. See Mem. Op. (Feb. 15, 2021)

at 7. Nonetheless, the United States will again note that the only instructions provided to the

independent experts are located in the administrative record, and the instructions self-evidently

do not seek a “pre-ordained conclusion.” See AR 20921–25 (task order 8); AR 20799–801 (task

order 9); AR 20933–36 (task order 10); AR 20954–59 (task order 11); AR 20960 (task order 14).

       Third, Taylor Energy argues that the NPFC “cherry-picked findings and conclusions of

its experts while ignoring those that did not support its predetermined outcome.” Pl.’s. Br. at 47.

In particular, Taylor Energy suggests that the NPFC erred by “task[ing] [David Evans and

Associates] with certain work, [but] the DEA report was not even relied upon by the NPFC.” Id.

at 46 (emphasis added). Taylor Energy also complains that the NPFC improperly disregarded




Taylor Energy also complains that the NPFC failed to provide ABS reports of Hawk Technical
Support, LLC (Laurendine) (AR 5500–15) or FuryConsult, LLC (Fury) (AR 8629–761). Pl.’s
Br. at 46. Contrary to Taylor Energy’s contention, the NPFC provided the Fury report to ABS.
See AR 20799–801 (task order 9). As for the Laurendine report, it would have been of little
utility to ABS. Only four pages bear on ABS’s tasks, and they include a scant description of the
MC-20 platform design and an abbreviated conclusion. AR 5500–15.
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the U.S. Naval Research Laboratory (NRL) Slope to Shelf and Exchange Dynamics field

sensor’s readings, id. at 47–48, and “cherry-picked” from Dr. Cortis Cooper, id. at 37 n.28.

       Taylor Energy’s contentions are without merit. As for the David Evans Report, the

NPFC explained that it did not closely analyze the Evans report—which concerned oil coming

from the discharge site—because “it is undisputed that discharges of oil from Taylor’s platform

amounted to an incident under OPA.” AR 7. There is no error in this. The NPFC did not, as

Taylor Energy suggests, ignore the Evans report to support a predetermined outcome. As to the

NRL sensor readings, the NPFC both considered and discussed them. See AR 2210, 2216.

Taylor Energy’s expert, Dr. Suhayda, relied on the readings to determine wave recurrence

intervals up to 10,000 years. AR 2216. The NPFC viewed this conclusion with caution because

the NRL readings involved data sets of only 25 years and 11 years, which is rather limited for

determining a recurrence interval of 10,000 years. AR 2216. As to Dr. Cooper’s report, AR

19887–93, the NPFC did not “cherry-pick” his findings. The NPFC relied on his conclusion that

the Ivan waves were not “unexpected” notwithstanding the fact that some of the hindcast data on

which Cooper relied—that said the waves had a 2,500-year recurrence period—was contradicted

by the independent experts. 25 AR 2217; see AR 16 (relying on independent experts’ findings

that the recurrence interval for the Hurricane Ivan-induced waves was approximately 100 years).

Indeed, the fact that Dr. Cooper reached his conclusion despite the questionable, overlong

hindcast data further bolsters the NPFC’s determination that the Ivan event should not be

considered “unanticipated.”




25
 As its name suggest, “hindcasting” involves entering data from a past actual storm into a
model to see how accurately that model predicts the known actual wave conditions.
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       Fourth, Taylor Energy criticizes the NPFC’s reliance on the expert Capt. James

Pettigrew. Pl.’s. Br. at 16, 45. The NPFC tasked Capt. Pettigrew with responding to 11

meteorology-oceanography claims made by Dr. Suhayda within his report. AR 20921–25.

Taylor Energy claims that Capt. Pettigrew was provided with only limited information and that

his findings “were well beyond his knowledge or expertise and were speculative, unfounded, and

in many cases demonstrably incorrect.” Pl.’s Br. at 16.

       Taylor Energy is wrong on all counts. Capt. Pettigrew was well qualified to comment on

Dr. Suhayda’s report. Capt. Pettigrew has a Bachelor of Science in Ocean Engineering from

Texas A&M University, a Master of Science in Meteorology and Physical Oceanography from

the Naval Postgraduate School, and a Diploma in Joint Operations Planning from the Armed

Forces Staff College. AR 20712–14. Moreover, Capt. Pettigrew served three decades in the

U.S. Navy as a Meteorological and Oceanographic Officer and has substantial professional

experience in bathymetry, bottom composition, and wind and wave effects throughout the water

column. AR 20277–301, 20712–14. As for the materials Capt. Pettigrew relied upon, the NPFC

provided Suhayda’s report, AR 5364–499, and Dr. Bea’s et. al Wave-Induced Slides in South

Pass Block 70, Mississippi Delta, Journal of Geotechnical Engineering (Apr. 1983), AR 20821–

48. Capt. Pettigrew also conducted extensive, independent research and cited to 25 references

within his final report, many of which are relied upon by Taylor Energy in its claim submission.




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AR 20030–61. As to Taylor Energy’s objection to Capt. Pettigrew’s findings, 26 the United

States notes that the independent expert GZA offered similar opinions as to Capt. Pettigrew’s. 27

               5. The NPFC Did Not Err by Considering Post-1983 Data in Its
                  Determination of Whether the Hurricane Ivan Waves Were an Act of
                  God.

       Taylor Energy argues that the NPFC erred by considering post-1983 data in its

determination of whether the Hurricane Ivan waves were an act of God. 28 Pl.’s. Br. at 48.

Taylor Energy argues that this data is irrelevant; what matters, instead, is the American

Petroleum Institute’s 100-year-storm design standard—and, more particularly, the standard as it

existed in 1983 when the platform was built. Because Hurricane Ivan conditions exceeded the

1983 100-year storm standard, Taylor Energy says the conditions constitute an act of God. 29 In




26
   Taylor Energy’s only specific objection to Capt. Pettigrew’s findings comes down to a single
sentence in Capt. Pettigrew’s report: “[T]he operational fact is that [mudflows and seafloor
failures] are both dynamic movements of the ocean bottom, in this area with a history of
subaqueous sediment instabilities (repetitiveness intended), that have caused the loss of offshore
platforms.” AR 20283–84. Taylor Energy says that this “statement is in direct conflict with the
expert opinions contained within the administrative record.” Pl.’s Br. at 40 n.32. However,
Taylor fails to offer any specific citations to the contrary or explain how the statement is
incorrect. As such, Taylor Energy’s contention should be disregarded.
27
   For example, both GZA and Capt. Pettigrew questioned Dr. Suhayda’s reliance upon single
point climatologic, average environmental information for his 1983 assessment of the MC20;
stated that Dr. Suhayda did not consider the full environment of the Gulf of Mexico that could
have affected the MC-20 in 2004; and criticized Dr. Suhayda’s original design analysis for
considering only a single wave condition. Compare AR 20030–61 (Pettigrew report) with AR
20305–622 (GZA Report) and AR 20661–72 (GZA Report Appendix K).
28
  This argument is hypocritical because Taylor Energy itself relied upon post-Ivan data within
their claim submission and submitted this data to the NPFC for consideration. See AR 371
(Taylor Energy expert Dr. Suhayda relying upon Dr. Forristall’s 2015 Hurricane Ivan hindcast
results to form the basis of his 2019 MC-20 analysis).
29
  Taylor Energy implies that the API standards were revised solely as a result of Hurricane Ivan.
Pl.’s Br. at 49, 54. This is misleading. Instead, the standards were revised because of the

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other words, Taylor Energy says that any storm beyond the API standards at the time a platform

is built is a per se act of God.

        There is no support for Taylor Energy’s position. The OPA act of God standard is not in

any way tied to the API standard. Rather, the proper standard is the statutory definition itself—

and that is precisely what the NPFC applied. Accordingly, Taylor Energy’s claim that NPFC

“retroactively applied” a new standard completely misses the mark. 30 Pl.’s. Br. at 52.

        Even if one could accept Taylor Energy’s dubious proposition that the API standard is

dispositive in the act of God inquiry, Taylor Energy’s claim would still fail because Taylor

Energy’s platform was likely not built in accordance with the API standards that existed in 1983.

The 1983 API standards required platforms to be built to withstand a 100-year storm, which, for

the MC-20 platform, depended on site-specific analysis of the local meteorological and

oceanographic conditions. 31 Dr. Suhayda performed this analysis for the MC-20 site, and the



occurrence of “three major hurricanes (Ivan, Katrina and Rita) in a two year period (2004 and
2005).” See AR 5408
30
  Taylor Energy’s attendant proposition that the NPFC committed a “violation of Taylor
Energy’s due process rights” is without merit for the same reasons. Pl.’s Br. at 48. There was no
new standard applied retroactively. Also, Taylor Energy already conceded its Due Process
claim. Id. at 18 n.15. And to the extent that Taylor Energy suggests that compliance with law
exonerates it from OPA liability, courts have already considered and rejected this argument.
Baby Oil, Inc. v. United States, 938 F. Supp. 2d 640, 644 (E.D. La. 2013) (rejecting claimant’s
argument that “full compliance with the law demonstrates that it exercised due care” and
upholding NPFC decision).
31
   Though Taylor Energy relies heavily on the API standards, Taylor Energy’s claim submission
does not include them, and they are not in the administrative record. Rather than citing the
standards themselves, Taylor Energy relies on its expert, who says that, “[i]n 1976, the API
formally adopted the 100-yr. storm design wave as part of its RP2A design standards for offshore
structures in the Gulf of Mexico.” AR 3895. He says that for certain areas within the Gulf, the
API standards prescribed general parameters for a 100-year design wave, but sites in the
Mississippi River Delta required a site-specific design wave because the Delta is “a region where
storm waves strongly interact with sediments that underly [sic] the seafloor, which changes the
storm wave parameters.” AR 3895.
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analysis had substantial flaws. See Section II.A.2 of the Argument, supra. Thus, Dr. Suhayda

likely failed to properly account for a 100-year storm—so even with Taylor Energy’s own

dubious API-based rubric, the Hurricane Ivan conditions were not an act of God.

III.   Plaintiffs’ Requested Relief Exceeds the Scope of the APA’s Limited Review.

       Although it is respectfully submitted that the NPFC’s determination should be upheld, in

the event the Court finds in favor of Taylor Energy, the appropriate remedy is to set aside the

NPFC’s determination and remand the matter to the NPFC for further proceedings not

inconsistent with the Court’s reasons for doing so. See 5 U.S.C. § 706(2); Gonzales v. Thomas,

547 U.S. 183, 185-87 (2006); Metro. Stevedore Co. v. Rambo, 521 U.S. 121, 140 (1997); Florida

Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985); FCC v. ITT World Comm. Inc., 466

U.S. 463, 468–69 (1984); Camp v. Pitts, 411 U.S. 138, 142 (1973); Citizens to Preserve Overton

Park v. Volpe, 401 U.S. 402, 415 (1971); see also Bean Dredging, 773 F. Supp. 2d at 78 (stating

“an agency is not restricted from reopening the administrative proceedings after the grounds

upon which it once relied are drawn into question by the reviewing court”) (citing PPG Indus. v.

United States, 52 F.3d 363, 366 (D.C. Cir 1995)).

       Plaintiff Taylor Energy nonetheless requests that the Court hold that Taylor Energy is

entitled to the protections of the act of God defense and grant the monetary relief requested.

Pl.’s Br. At 56. Specifically, Taylor Energy asks that the Court award Taylor Energy

$353,881,719, the sum for which it submitted its claim to the NPFC, plus interest, costs, and

attorney fees. 32 Compl. at 70. Because the NPFC determined that Plaintiff had failed to meet its

burden of demonstrating that it was entitled to a defense to liability, the NPFC did not adjudicate



32
  Neither OPA nor the APA authorize Taylor Energy to recover attorneys’ fees, expert fees,
costs, interest and disbursements from the Fund.

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whether the particular removal costs and damages alleged by Plaintiff are compensable under

OPA, 33 see, e.g., 33 U.S.C. §§ 2702(b), 2712(a)(4), and its regulations, 33 C.F.R. Part 136. This

question would be for the NPFC to determine in the first instance, along with any other issues

raised by this Court’s decision. Should this Court set aside the NPFC’s decision, the appropriate

course is remand to the NPFC. Taylor Energy’s request for an order holding that Taylor Energy

is entitled to the act of God defense and a monetary award should be denied.

                                             CONCLUSION

       For the foregoing reasons, the Court should DENY Plaintiff’s motion for summary

judgment and GRANT the Federal Defendants’ cross-motion for summary judgment.

                                              Respectfully submitted,


                                              FOR THE UNITED STATES OF AMERICA


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33
   For instance, the NPFC had no occasion to reach the question whether Taylor Energy has
liability under Section 1004(c)(3) of the Oil Pollution Act, 33 U.S.C. § 2704(c)(3)
(“Notwithstanding the . . . the defenses of section 2703 of this title, all removal costs incurred by
the United States Government . . . in connection with a discharge or substantial threat of
discharge of oil from any Outer Continental Shelf facility . . . shall be borne by the owner or
operator of such facility . . . .”).
                                                 45
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                                CERTIFICATE OF SERVICE

       I certify that on this 12th day of April, 2021, a true and correct copy of the foregoing

pleading was filed electronically with the Clerk of Court of the District of Columbia by using the

CM/EDF system, which provides notice of fling to all counsel of record by electronic means.



                                             __________/s/ Elliot Higgins_________________
                                             Elliot Higgins




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